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  4
    Attorney for Plaintiff
  5 OmniPrint International, Inc.
  6
                                  UNITED STATES DISTRICT COURT
  7
                                 CENTRAL DISTRICT OF CALIFORNIA
  8
  9
       OMNIPRINT INTERNATIONAL, INC.,                      Case No.
 10    a Nevada corporation,
                                                           COMPLAINT FOR:
 11                       Plaintiff,
                                                           1. BREACH OF CONTRACT;
 12    v.
                                                           2. MISAPPROPRIATION OF TRADE
 13    EDGAR SILVA AMBRIZ, aka EDGAR                         SECRETS UNDER THE DEFEND
       AMBRIZ SILVA, an individual; MARIA                    TRADE SECRETS ACT;
 14    EUGENIA AMBRIZ, an individual;
       SERGIO RAMIREZ, an individual;                      3. BREACH OF DUTY OF
 15    GOODWELL SCIENCE, LLC, a                              LOYALTY; AND
       California limited liability company;
 16    ANGEL JOSE RAMIREZ, an individual;                  4. UNFAIR COMPETITION
       ANGELBOY PRINTS, LLC, a
 17    California limited liability company; and           DEMAND FOR JURY TRIAL
       DOES 1-10, inclusive,
 18
                          Defendants.
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  1         COMES NOW, Plaintiff and alleges as follows:
  2                                 NATURE OF CLAIMS
  3         1.     A former employee, charged with product development, and those who
  4 conspired with and/or aided and abetted him, stole highly confidential ink formulas
  5 used for direct-to-garment (“DTG”) and direct-to-film (“DTF”) digital printers. The
  6 former employee also stole confidential customer, vendor and pricing information,
  7 all of which were used to provide an immediate head-start for a competing business.
  8         2.     The information on ink formulas was developed after many expensive
  9 and painstaking years of R&D. The information on customers and vendors was
 10 likewise developed over many years and based on thousands of hours of marketing
 11 and sales efforts. In one fell swoop, defendants received invaluable scientific and
 12 commercial information that will enable them to compete unfairly and damage the
 13 goodwill and reputation that took plaintiff years to build.
 14         3.     By this action, plaintiff seeks injunctive relief and monetary damages,
 15 for, among other things, theft of trade secrets, breach of duty of loyalty, and unfair
 16 competition.
 17                            JURISDICTION AND VENUE
 18         4.     This is an action for violation of the Defend Trade Secrets Act of 2016
 19 (“DTSA”), 18 U.S.C. § 1836 et seq., and for related state or common law claims.
 20 The subject matter involves trade secrets related to a product used in, or intended for
 21 use in, interstate and foreign commerce. This Court has subject matter jurisdiction of
 22 this action since it arises under the laws of the United States of America pursuant to
 23 28 U.S.C. § 1331. This Court has supplemental jurisdiction pursuant to 28 U.S.C. §
 24 1367(a).
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  1         5.     Venue is proper in this district as a substantial part of the material acts
  2 and omissions giving rise to the claims occurred within this judicial district pursuant
  3 to 28 U.S.C. § 1391(b). Venue is also proper in the district where defendants reside
  4 or may be found pursuant to 28 U.S.C. § 1400(a).
  5                                      THE PARTIES
  6         6.     Plaintiff OMNIPRINT INTERNATIONAL, INC. (“Plaintiff” or
  7 “OmniPrint”) is, and at all times mentioned herein was, a corporation duly formed
  8 under the laws of the state of Nevada, with its principal place of business located in
  9 the county of Orange, state of California.
 10         7.     Defendant EDGAR SILVA AMBRIZ, aka EDGAR AMBRIZ SILVA
 11 (“Ambriz”) is, and at all times mentioned herein was, an individual, residing in the
 12 county of Orange, state of California.
 13         8.     Defendant MARIA EUGENIA AMBRIZ (“Maria Ambriz”) is, and at
 14 all times mentioned herein was, an individual, residing in the county of Orange,
 15 state of California, and the wife of Ambriz.
 16         9.     Defendant SERGIO RAMIREZ (“Sergio Ramirez”) is, and at all times
 17 mentioned herein was, an individual, residing in the county of Orange, state of
 18 California, and a former employee of OmniPrint.
 19         10.    Defendant GOODWELL SCIENCE, LLC (“Goodwell Science”), is,
 20 and at all times mentioned herein was, a California limited liability company, with
 21 its principal place of business in the county of Orange, state of California. At all
 22 times mentioned herein, Ambriz was a member and manager of Goodwell Science.
 23 At all times mentioned herein, Maria Ambriz was a manager, employee or agent of
 24 Goodwell Science.
 25         11.    Defendant ANGEL JOSE RAMIREZ (“Angel Ramirez”) is, and at all
 26 times mentioned herein was, an individual, residing in the county of San
 27 Bernardino, state of California.
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  1         12.    Defendant ANGELBOY PRINTS, LLC (“AngelBoy”) is a California
  2 limited liability company, with its principal place of business located in the county
  3 of San Bernardino, state of California. At all times mentioned herein, Angel
  4 Ramirez was a member and manager of AngelBoy.
  5         13.    The true names and capacities, whether individual, corporate, associate
  6 or otherwise of defendants herein named as DOES 1 through 10, inclusive, are
  7 unknown to plaintiff, who therefore sues said defendants by such fictitious names.
  8 Plaintiff will seek leave of this court to amend this complaint to state the true names
  9 and capacities of such fictitiously named defendants when the same have been
 10 ascertained.
 11         14.    Plaintiff is informed and believes, and based thereon alleges, that at all
 12 times mentioned herein, each defendant, whether named or unnamed, was the agent,
 13 servant, and employee of the other defendants, and each of them, whether named or
 14 unnamed, and in committing the acts and omissions herein mentioned, was acting
 15 within the course and scope of said agency, servitude, and employment. At all times
 16 mentioned herein, each defendant, whether named or unnamed, was chargeable with
 17 and bound by the knowledge and information received by and on behalf of each
 18 other defendant. Plaintiff is further informed and believes, and based thereon
 19 alleges, that at all times relevant herein, the acts of the defendants, whether named
 20 or unnamed, and each of them, were ratified and adopted by the acts of their co-
 21 defendants, whether named or unnamed, and each of them.
 22         15.    Plaintiff is informed and believes, and based thereon alleges, that at all
 23 times mentioned herein, each defendant, whether named or unnamed, was an agent,
 24 coconspirator and joint venturer of each of the remaining defendants and, in doing
 25 the things hereinafter alleged, was acting within the course and scope of such
 26 agency, conspiracy and joint venture.
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  1                             COMMON ALLEGATIONS
  2         16.    OmniPrint develops, markets and sells high-end DTG/DTF digital
  3 printers, such as the FreeJet 330TX and Cheetah. In addition to printers, OmniPrint
  4 develops and sells specially formulated DTG/DTF inks, marketed as Direct Ink
  5 Gamut Plus (“Gamut Plus Inks”). The award-winning Gamut Plus Inks, created after
  6 years of research and development, contain an exclusive mixture of polymers,
  7 proprietary dispersion technology and the smallest particle size in the industry that
  8 enables the ink to bind to polyester and cotton blend garments and produce vibrant
  9 colors and hues. OmniPrint sells Gamut Plus Inks at trade shows and online. The
 10 online store is located at https://store.omniprintonline.com/collections/inks.
 11         17.    From April 30, 2018 to October 29, 2021, OmniPrint employed Ambriz
 12 as Senior R&D Engineer and Director of Product Development. In the course of his
 13 employment with OmniPrint, Ambriz had access to and possession of certain highly
 14 confidential documentation on the development and creation of Gamut Plus Inks,
 15 including but not limited to (a) Ink Formulation Template and Release Steps; (b)
 16 Pretreatment Formulation Template and Release Steps; (c) Ink Batch Adjustment
 17 Quality Control Procedure; and (d) Pretreatment Batch Adjustment Quality Control
 18 Procedure (collectively, “Gamut Ink Documents”).
 19         18.    While employed with OmniPrint, Ambriz was trained on and assisted
 20 in the development of Gamut Plus Inks for the entire line of OmniPrint printers,
 21 including the FreeJet TX Plus, Cheetah industrial printer and OmniPrint i2 printer.
 22 Using the Gamut Ink Documents, Ambriz had access to and possession of highly
 23 confidential information on OmniPrint’s proprietary ink formulations, pretreatment
 24 processes, and ink testing (collectively, “Ink Formulas and Processes”).
 25         19.    As Senior R&D Engineer and Director of Product Development,
 26 Ambriz had access to sensitive and confidential information on existing and
 27 prospective customers of OmniPrint. The information to which Ambriz had access
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  1 included customer names, physical address, email address, phone number, contact
  2 person, order history, pricing data and a variety of other important purchase and sale
  3 information (collectively, “Customer Information”).
  4         20.    As Senior R&D Engineer and Director of Product Development,
  5 Ambriz had access to sensitive and confidential information on existing suppliers
  6 and vendors of OmniPrint. The information to which Ambriz had access included
  7 supplier or vendor names, physical address, email address, phone number, contact
  8 person, order history, pricing data and a variety of other important order information
  9 (collectively, “Supplier/Vendor Information”).
 10         21.    While employed, Ambriz signed a Confidential Information &
 11 Inventions Assignment Agreement, effective April 23, 2021, a copy of which is
 12 attached hereto as Exhibit 1 (“Confidentiality Agreement”).
 13         22.    In Section 3(a) of the Confidentiality Agreement, Ambriz agreed that
 14 all “Confidential Information,” which included “Trade Secret Information” (both
 15 defined terms), “shall be deemed property of OmniPrint.” Ambriz further agreed
 16 that he “shall not, directly or indirectly, use or disclose any Confidential
 17 Information, except as may be required for the proper performance of Employee’s
 18 duties as an Employee for and on behalf of OmniPrint, and in accordance with
 19 OmniPrint’s policies and procedures relating thereto.
 20         23.    In Section 3(b) of the Confidentiality Agreement, Ambriz agreed not to
 21 “copy, reproduce or otherwise duplicate, record, abstract or summarize any
 22 Confidential Information, or use any computer, equipment, tools or other property of
 23 OmniPrint, except as expressly permitted or required for the proper performance of
 24 Employee’s duties for and on behalf of OmniPrint.
 25         24.    In Section 3(c) of the Confidentiality Agreement, Ambriz agreed to
 26 “deliver promptly to OmniPrint, at the termination of [his employment] all
 27 Confidential Information (including all copies thereof, regardless of the medium in
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  1 which such information may be stored) and all computers, equipment, tools and
  2 other property of OmniPrint.
  3         25.    In Section 3(e) of the Confidentiality Agreement, Ambriz
  4 acknowledged that his obligations set forth in the agreement shall apply “to all
  5 Confidential Information, Trade Secret and/or proprietary information learned from
  6 or acquired [by him] during [his] engagement with OmniPrint from others with
  7 whom OmniPrint has or had a business relationship.”
  8         26.    In Section 5(a) of the Confidentiality Agreement, Ambriz agreed,
  9 during and post-employment, not to “take, utilize, sell, share, communicate, transfer
 10 or otherwise disseminate OmniPrint’s Trade Secret Information or Confidential
 11 Information, for the benefit of Employee or any other party, or with the intent to
 12 harm OmniPrint.”
 13         27.    In Section 5(b) of the Confidentiality Agreement, Ambriz agreed that
 14 the names and contact information of OmniPrint’s customers (actual and
 15 prospective) constitute Trade Secrets of OmniPrint and that unauthorized use and
 16 disclosure of such information would “constitute unfair competition.” As such,
 17 Ambriz agreed that post-employment he would not solicit OmniPrint’s customers.
 18         28.    In Section 3(d), Ambriz agreed that “the unauthorized taking of any of
 19 OmniPrint’s Trade Secrets is a crime under State Law, punishable by fine and
 20 potential imprisonment.” See Cal. Pen. Code § 499c. Ambriz further acknowledged
 21 and agreed that any unauthorized taking or use of OmniPrint’s Trade Secrets “could
 22 result in civil liability under California’s Uniform Trade Secrets Act, and that willful
 23 and malicious misappropriation may result in, among other things, an award against
 24 [him] for damages in addition to OmniPrint’s attorneys’ fees and costs incurred in
 25 enforcing OmniPrint’s rights. See Cal. Civil Code §§ 3426-3426.11.
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  1         29.    On October 29, 2021, Ambriz voluntarily resigned from OmniPrint,
  2 claiming that he was going to work in a different industry than DTG/DTF printers
  3 and printer ink. As part of the resignation process, Ambriz signed a Non-
  4 Disclosure—Employee Exit Agreement, a copy of which is attached hereto as
  5 Exhibit 2 (“Exit Agreement”). In Section 1 of the Exit Agreement, Ambriz
  6 acknowledged that he had “special access to confidential, trade secret and
  7 proprietary information of OmniPrint, including . . . the operational aspects of
  8 OmniPrint’s technology . . . which is not known to the industry or public.” Ambriz
  9 acknowledged the duty to maintain all Confidential Information in strict confidence
 10 and not use or disclose such information.
 11         30.    On or about October 18, 2022, OmniPrint learned that contrary to
 12 working in a different industry (as represented), Ambriz had been developing DTG
 13 and DTF inks using OmniPrint’s proprietary formulas and technology. OmniPrint is
 14 informed and believes, and based thereon alleges, that Ambriz copied and used the
 15 Gamut Ink Documents and the Ink Formulas and Processes, all which belonged to
 16 OmniPrint, to market and sell a competing ink product line.
 17         31.    On October 18, 2022, Ambriz sent a group message to DTG owners
 18 offering his services as an “Inkjet Ink Developer (Chemical Engineer with a Masters
 19 in Materials and Polymer Science).” In this message, Ambriz stated that he had
 20 “developed more than 30 inkjet inks for the textile industry” and wanted to “provide
 21 solutions to the industry, giving the best price and quality.” Ambriz asked the group,
 22 i.e., potential customers, “what is a fair price for a DTG/DTF ink? and “what kind of
 23 problems are you having with your current ink supplier?”
 24         32.    On or about December 2022, Ambriz uploaded a video to social media
 25 showing a laboratory containing the same testing and DTG/DTFprinting equipment
 26 used by OmniPrint. The video was produced by Sergio Ramirez. In the video, Angel
 27 Ramirez, owner of AngelBoy, is shown mixing ink and bottling the product with the
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  1 AngelBoy logo. The video shows Ambriz watching and directing Angel Ramirez.
  2 Ambriz appears to be explaining and supervising the process.
  3         33.      At all times mentioned herein, Defendant Angel Ramirez, through
  4 AngelBoy, was a customer of OmniPrint, having purchased DTG/DTF printers,
  5 Gamut Plus Inks and related products. At all times mentioned herein, Sergio
  6 Ramirez was a former employee of OmniPrint.
  7                               FIRST CLAIM FOR RELIEF
  8                     (Breach of Contract; Against Defendant Ambriz)
  9         34.      Plaintiff realleges paragraphs 1 through 33, inclusive, of this Complaint
 10 and incorporates those allegations herein as though set forth in full.
 11         35.      On April 23, 2021, OmniPrint, as employer, and Ambriz, as employee,
 12 entered into the Confidentiality Agreement concerning the maintenance, use and
 13 disclosure of OmniPrint’s Confidential Information during and after his employment
 14 as Director of Product Development.
 15         36.      OmniPrint has performed all conditions, covenants, and promises
 16 required on its part to be performed in accordance with the terms and conditions of
 17 the Agreement.
 18         37.      Within the last two years, Ambriz breached:
 19         • Section 3(a) of the Confidentiality Agreement when, post-employment,
 20               Ambriz improperly and without authorization, used or disclosed
 21               Confidential Information for personal purposes, including to develop,
 22               market and sell DTG/DTF inks;
 23         • Section 3(b) of the Confidentiality Agreement when Ambriz made a copy,
 24               reproduced or otherwise duplicated or summarized Confidential
 25               Information for personal use;
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   1         • Section 3(b) of the Confidentiality Agreement when Ambriz used
   2               computers, equipment, tools or other property of OmniPrint to develop,
   3               market and sell DTG/DTF inks;
   4         • Section 3(c) of the Confidentiality Agreement when Ambriz failed to
   5               deliver promptly to OmniPrint, at the termination of his employment, all
   6               Confidential Information (including all copies thereof, regardless of the
   7               medium in which such information may be stored);
   8         • Section 5(a) of the Confidentiality Agreement when Ambriz, without
   9               consent or authorization, took, utilized, sold, shared, communicated,
  10               transferred or otherwise disseminated OmniPrint’s Trade Secret
  11               Information or Confidential Information, for his personal benefit or with
  12               the intent to harm OmniPrint; and
  13         • Section 5(b) of the Confidentiality Agreement when Ambriz, without
  14               consent or authorization, solicited customers of OmniPrint, including
  15               AngelBoy, using Confidential Information.
  16         38.      As a direct and foreseeable consequence of the aforesaid breaches,
  17 OmniPrint has been damaged, the exact amount of which will be determined
  18 according to proof at trial.
  19         39.      As a direct and foreseeable consequence of the aforesaid breaches,
  20 OmniPrint has incurred, and will continue to incur, attorney fees in an amount
  21 subject to proof at the time of trial. Pursuant to Section 18 of the Confidentiality
  22 Agreement, OmniPrint reserves the right to recover reasonable attorney fees as
  23 prevailing party.
  24         40.      As a direct and foreseeable consequence of the aforesaid continuing
  25 breaches, unless restrained and enjoined by order of this Court, defendant’s conduct
  26 will cause great and irreparable injury to OmniPrint, its business, its reputation and
  27 goodwill. OmniPrint has no adequate remedy at law for the injuries that have been,
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   1 and will continue to be, sustained in this action. Pursuant to Section 6, and
   2 applicable law, OmniPrint reserves its right to temporary, preliminary and
   3 permanent injunctive relief to prevent future or irreparable harm.
   4                            SECOND CLAIM FOR RELIEF
   5                   (Misappropriation of Trade Secrets Under DTSA;
   6                    Against All Defendants, and Does 1-10, Inclusive)
   7         41.    Plaintiff realleges paragraphs 1 through 33, inclusive, of this Complaint
   8 and incorporates those allegations herein as though set forth in full.
   9         42.    OmniPrint uses interstate commerce to purchase materials to develop,
  10 formulate and test Gamut Plus Inks. OmniPrint uses interstate commerce to market
  11 and sell Gamut Plus Inks, including the U.S. Mail, the Internet (via an online store)
  12 and various social media platforms.
  13         43.    The Gamut Ink Documents, Ink Formulas and Processes, Customer
  14 Information and Supplier/Vendor Information (collectively, “Trade Secrets”) were
  15 created and developed after significant effort and expense on the part of OmniPrint.
  16 The aforesaid information derives independent economic value because the
  17 information is not generally known to, and not readily ascertainable through proper
  18 means by, another person who can obtain economic value from the disclosure or use
  19 of the information.
  20         44.    The Trade Secrets were maintained in confidence by OmniPrint which
  21 has, at all times mentioned herein, taken reasonable precautions to keep such
  22 information secret and used for legitimate business purposes. These measures
  23 include advising employees, such as Ambriz, that the information is highly
  24 confidential, restricting access to the information and requiring employees to sign a
  25 Confidentiality Agreement.
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   1         45.    Defendant Ambriz used improper means to acquire knowledge of the
   2 Trade Secrets by, among other things, breaching a duty to maintain secrecy and
   3 misrepresenting and concealing his true intention to establish a competing
   4 DTG/DTF ink business.
   5         46.    Defendants Maria Ambriz, Sergio Ramirez, Goodwell Science, Angel
   6 Ramirez, AngelBoy and Does 1 through 10, inclusive, engaged in misappropriation,
   7 among other things, by the disclosure or use of the trade secrets without OmniPrint’s
   8 express or implied consent when, at the time of the disclosure or use, defendants
   9 knew or had reason to know that their knowledge was derived from or through
  10 persons who had utilized improper means to acquire the trade secrets or who owed a
  11 duty to maintain is secrecy or limit its use.
  12         47.    Plaintiff is informed and believes, and thereon alleges, that Defendants
  13 Edgar Ambriz, Maria Ambriz, Sergio Ramirez, Goodwell Science, Angel Ramirez,
  14 AngelBoy, and Does 1 through 10, inclusive, misappropriated the trade secrets to
  15 cause harm to OmniPrint by unfairly competing with and diverting business from
  16 OmniPrint.
  17         48.    As a proximate result of the aforementioned wrongful acts, as alleged
  18 herein, OmniPrint has suffered, and will continue to suffer, damages for actual loss
  19 in an amount subject to proof at the time of trial.
  20         49.    As a further proximate result of the wrongful conduct alleged herein,
  21 Defendants Edgar Ambriz, Maria Ambriz, Sergio Ramirez, Goodwell Science,
  22 Angel Ramirez, AngelBoy, and Does 1 through 10, inclusive, have been unjustly
  23 enriched damages that is not addressed in computing damages for actual loss.
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  26         50.    Plaintiff is informed and believes, and thereon alleges, that the
  27 aforementioned wrongful acts of defendants were done willfully and maliciously,
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   1 thus entitling OmniPrint to recover exemplary damages in an amount not exceeding
   2 twice the award of actual damages.
   3         51.    As a proximate result of the aforementioned wrongful acts, as alleged
   4 herein, plaintiff has incurred, and will continue to incur, attorney’s fees in an
   5 amount subject to proof at the time of trial. OmniPrint reserves its right to recover
   6 reasonable attorney fees based on the bad faith misappropriation of trade secrets.
   7         52.    The wrongful acts of defendants, as alleged herein, unless restrained
   8 and enjoined by order of this Court, will cause great and irreparable injury to
   9 OmniPrint, its business, its reputation and goodwill. OmniPrint has no adequate
  10 remedy at law for the injuries that have been, and will continue to be, sustained in
  11 this action.
  12                             THIRD CLAIM FOR RELIEF
  13                (Breach of Duty of Loyalty; Against Defendant Ambriz)
  14         53.    Plaintiff realleges paragraphs 1 through 33, inclusive, of this Complaint
  15 and incorporates those allegations herein as though set forth in full.
  16         54.    Defendant Ambriz was employed by OmniPrint as Director of Product
  17 Development.
  18         55.    As employee, Ambriz owed OmniPrint a duty of undivided loyalty
  19 which, among other things, required Ambriz to act in good faith and in the best
  20 interests of the company, to maintain the confidentiality of trade secrets, and to
  21 refrain from engaging in any act or omission calculated or likely to injure
  22 OmniPrint. As such, equity and conscience demand that Ambriz not use his
  23 position to further his own private interests.
  24
  25         56.    While still employed for OmniPrint, Defendant Ambriz (1) used
  26 OmniPrint time, facilities, and/or trade secrets to build Goodwell Science, a
  27 competing business and (2) diverted, or attempted to divert, business to Goodwell
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   1 Science. This conduct violated Labor Code, § 2863, which provides, in part, that
   2 “[a]n employee who has any business to transact on his own account, similar to that
   3 intrusted to him by his employer, shall always give the preference to the business of
   4 the employer.”
   5         57.    Defendant received compensation from OmniPrint while he acted
   6 against the best interests of his employer. Had Ambriz resigned as soon as he
   7 decided to form and build Goodwell Science using OmniPrint time, facilities or
   8 proprietary information, or had he disclosed his attempts to divert business,
   9 OmniPrint would have terminated Ambriz, and saved the compensation that was
  10 paid.
  11         58.    Plaintiff therefore reserves the right to recover Ambriz’s compensation
  12 as damages directly flowing from the breach of the duty of loyalty.
  13         59.    As a direct and proximate result of the actions as alleged herein,
  14 OmniPrint has suffered, and continues to suffer, other actual damages in an amount
  15 subject to proof at the time of trial.
  16                            FOURTH CLAIM FOR RELIEF
  17       (Unfair Competition; Against All Defendants and Does 1-10, Inclusive)
  18         60.    Plaintiff realleges paragraphs 1 through 30, inclusive, of this Complaint
  19 and incorporates those allegations herein as though set forth in full.
  20         61.    Plaintiff is informed and believes, and based thereon alleges, that each
  21 defendant had knowledge of and agreed to both the objective and the course of
  22 action that resulted in the misappropriation of trade secrets alleged herein, that there
  23 was a wrongful act committed pursuant to that agreement, to wit, the
  24 misappropriation of trade secrets, and that there was resulting damage.
  25         62.    The acts and omissions of defendants, and Does 1 through 10, as
  26 alleged herein, particularly using Confidential Information to develop competing
  27 DTG/DTF inks and to solicit existing or prospective customers, constitute unlawful,
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   1 unfair or fraudulent business acts or practices pursuant to California’s Unfair
   2 Competition Law, as set forth in California Business and Professions Code, section
   3 17200 et. seq. (“UCL”) and the common law of the State of California.
   4         63.    Plaintiff has suffered injury in fact and has lost money or property as a
   5 result of the alleged unfair competition.
   6         64.    Plaintiff is entitled to restitution of any monies obtained by defendants,
   7 and Does 1 through 10, as a direct and proximate result of violation of the UCL, and
   8 common law.
   9         65.    The wrongful acts of defendants, and Does 1 through 10, as alleged
  10 herein, unless restrained and enjoined by order of this Court, will cause great and
  11 irreparable injury to Plaintiff, its business, its reputation and goodwill. Plaintiff has
  12 no adequate remedy at law for the injuries that have been, and will continue to be,
  13 sustained in this action.
  14         WHEREFORE, plaintiff prays that this Court enter judgment in its favor and
  15 against Defendants, and Does 1 through 10, as follows:
  16                ON THE FIRST CLAIM FOR RELIEF:
  17         1.     For compensatory and special damages according to proof;
  18         2.     For injunctive relief against the further breaches of contract;
  19         3.     For reasonable attorney’s fees as prevailing party pursuant to California
  20 Civil Code § 1717;
  21                ON THE SECOND CLAIM FOR RELIEF:
  22         4.     For an order providing for the seizure of property necessary to prevent
  23 the propagation or dissemination of the trade secret that is the subject of the action,
  24 pursuant to 18 U.S.C. § 1836(2)(A);
  25         5.     For a temporary restraining order, preliminary injunction, and/or
  26 permanent injunction, pursuant to 18 U.S.C. § 1836(3)(A), enjoining Defendants,
  27 and each of their agents, servants, and employees, and those persons in active
  28
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   1 concert or participation with any of them, who receive actual notice of the order by
   2 personal service or otherwise, pending a final judgment in this action, from directly
   3 or indirectly:
   4              A. using, disclosing, selling, transferring, publishing, or disseminating any
   5                 confidential and proprietary information contained in the files or
   6                 records of OmniPrint, whether in the form of hard copy or information
   7                 stored electronically or on a computer hard drive or disk, including but
   8                 not limited to Gamut Ink Documents, Ink Formulas and Processes,
   9                 Customer Information and Supplier/Vendor Information (collectively,
  10                 “Trade Secrets”).
  11              B. deleting, removing, destroying, mutilating, concealing, altering,
  12                 transferring, or otherwise disposing of, in any manner, any of
  13                 OmniPrint’s personal property, books, records, documents,
  14                 correspondence, contracts, agreements, manuals, or other corporate or
  15                 financial records of any kind in the possession, custody or control of
  16                 Defendants, and each of them.
  17              C. deleting, removing, destroying, mutilating, concealing, altering,
  18                 transferring, or otherwise disposing of, in any manner, any information
  19                 constituting Trade Secrets of OmniPrint.
  20         6.      For actual losses incurred by OmniPrint, the unjust enrichment caused
  21 by the misappropriation, and/or a reasonable royalty for the use of the
  22 misappropriated information, in an amount according to proof at trial, pursuant to 18
  23 U.S.C. § 1836(3)(B);
  24
  25         7.      For exemplary damages of up to twice the amount of actual damages
  26 pursuant to 18 U.S.C. § 1836(3)(C);
  27         8.      For reasonable attorney’s fees pursuant to 18 U.S.C. § 1836(3)(D);
  28
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   1                ON THE THIRD CAUSE OF ACTION:
   2         9.     For return of compensation paid while defendant violated the duty of
   3 loyalty;
   4         10.    For general or compensatory damages according to proof at trial;
   5                ON THE FOURTH CAUSE OF ACTION:
   6         11.    For restitution;
   7         12.    For injunctive relief;
   8                ON ALL CLAIMS FOR RELIEF
   9         13.    For costs of suit;
  10         14.    For pre-judgment interest; and
  11         15.    For such other and further relief as the Court deems necessary or
  12 proper.
  13   Dated: December 23, 2022                KRONGOLD LAW CORP., P.C.
  14
  15                                               By: _________________________________
                                                       Steven L. Krongold
  16                                                   Attorney for Plaintiff
                                                       OmniPrint International, Inc.
  17
  18                              DEMAND FOR JURY TRIAL

  19         Pursuant to Federal Rule of Civil Procedure 38(b) and Local Rule 38-1,

  20 Plaintiff hereby demands a jury trial of all issues so triable.
  21 Dated: December 23, 2022                   KRONGOLD LAW CORP., P.C.
  22
  23                                         By:
  24                                               Steven L. Krongold
                                                   Attorney for Plaintiff
  25                                               Omniprint International, Inc.
  26
  27
  28
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